  Case
Form G6 23-00042
        (20200113_apo)Doc 12  Filed 01/16/24 Entered 01/16/24 13:43:01              Desc Main
                                Document      Page 1 of 5
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                       ) BK No.: 22-11531
Elaine M. Owens,                                             )
                                                             ) Chapter:
                                                                        7
                                                             )
                                                             ) Honorable Donald R. Cassling
                                                             )
                                    Debtor(s)                )
Elaine M. Owens,                                             ) Adv. No.: 23-00042
                                                             )
                                                             )
                                    Plaintiff(s)
U.S. Department of Education,                                )
                                                             )
                                                             )
                                    Defendant(s)             )

                                   AGREED JUDGMENT ORDER

        Elaine M. Owens and the United States Department of Education having entered into a
Stipulation and Non-Opposition to Discharge filed with the court (the “Stipulation”), and good cause
appearing, it is hereby ordered, adjudged, and declared that:

   1. Elaine Owens's debt on account of the Regent and Strayer Loans, as that term is defined in the
Stipulation, is discharged pursuant to 11 U.S.C. § 523(a)(8) and this court's Order of Discharge entered
on January 18, 2023, in the above captioned bankruptcy case.

   2. Elaine Owens's debt on account of the Direct Parent Plus Loans and the Colorado Technical Loans,
as those terms are defined in the Stipulation, as well as any loans made to her after the bankruptcy
petition date, is not subject to discharge in the above captioned bankruptcy case.

  3. Each party shall bear its own costs.

  4. The above captioned adversary proceeding is closed.

                                                           Enter:


                                                                    Honorable Donald R. Cassling
Dated: January 16, 2024                                             United States Bankruptcy Judge

Prepared by:
Megan Holmes
Attorney for Debtor
The Semrad Law Firm, LLC
11101 S Western Ave
Chicago, IL 60643
  Case
Form G6 23-00042
        (20200113_apo)Doc 12   Filed 01/16/24 Entered 01/16/24 13:43:01   Desc Main
                                 Document     Page 2 of 5
(312) 837-4019
mholmes@semradlaw.com
  Case 23-00042       Doc 12     Filed 01/16/24 Entered 01/16/24 13:43:01            Desc Main
                                   Document     Page 3 of 5



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                              )
                                    )     CASE NO. 22 BK 11531
       Elaine M Owens               )     Honorable Judge: Donald R Cassling
       Debtor                       )     CHAPTER 7
____________________________________)__________________________________
                                    )
       Elaine M Owens               )
                                    )
              Plaintiff             )
                                    )
       v.                           )     ADV. NO. 23 AP 00042
                                    )
U.S. Department of Education,       )
                                    )
                                    )
                                    )
              Defendant             )

                STIPULATION AND NON-OPPOSITION TO DISCHARGE

         Plaintiff, Elaine M Owens (“Plaintiff”) and defendant U.S. Department of Education

(“Defendants”) stipulate and agree as follows:

         1.    Plaintiff, Elaine M Owens (“Plaintiff”), filed a voluntary petition for relief under

Chapter 7 of the United States Bankruptcy Code on October 5, 2022.

         2.    Plaintiff, Elaine M Owens, filed the above captioned adversary proceeding to

determine the dischargeability of student loan debt based on undue hardship pursuant to 11 U.S.C.

§ 523(a)(8).

         3.    The Department of Education holds eight pre-petition student loans owed by

Plaintiff. Four of those loans were made for Plaintiff’s attendance at Regent University and Strayer

University (the Regent and Strayer Loans). Specifically, the Regent and Strayer Loans include (a)

a direct subsidized loan and a direct unsubsidized loan disbursed in 2018 in the amounts of $3,500
  Case 23-00042       Doc 12     Filed 01/16/24 Entered 01/16/24 13:43:01            Desc Main
                                   Document     Page 4 of 5



and $6,000, respectively, for attendance at Regent University; and (b) a direct subsidized loan and

a direct unsubsidized loan disbursed in 2019 in the amounts of $3,500 and $4,719, respectively,

for attendance at Strayer University. The total balance of the Regent and Strayer Loans as of

March 24, 2023, was $18,717.63.

       4.      The U.S. Department of Education also holds two direct parent plus loans disbursed

in 2011 in the amounts of $11,150 and $10,041 (the Direct Parent Plus Loans) and a direct

subsidized loan and a direct unsubsidized loan disbursed in 2021 in the amounts of $3,500 and

$6,000, respectively, for attendance at Colorado Technical University (the Colorado Technical

Loans). The total balance of the Direct Parent Plus Loans and Colorado Technical Loans as of

March 24, 2023, was $46,114.87.

       5.      All loans described in this stipulation were made to the Plaintiff under programs

funded in whole or in part by a governmental unit within the meaning of 11 U.S.C. § 523(a)(8)(A).

       6.      The Plaintiff, Elaine M Owens and the Defendant, the Department of Education,

stipulate that the Regent and Strayer Loans would impose an undue hardship on Plaintiff and the

Regent and Strayer Loans are therefore dischargeable under 11 U.S.C. §523(a)(8). In addition, the

parties stipulate that the Direct Parent Plus Loans and the Colorado Technical Loans are not

dischargeable in the above captioned bankruptcy case. Further, the parties stipulate that additional

loans made to Plaintiff after the bankruptcy petition date for Plaintiff’s attendance at Colorado

Technical University are not dischargeable in the above captioned bankruptcy case.

       7.      The parties agree to seek the entry of a judgment order consistent with the preceding

paragraph and agree that the entry of such a judgment order will resolve this adversary proceeding.

       8.      The parties certify that they have read and fully understand this stipulation.

Agreed:



                                                 2
 Case 23-00042      Doc 12   Filed 01/16/24 Entered 01/16/24 13:43:01   Desc Main
                               Document     Page 5 of 5




Dated: January 8, 2024           By:   /s/ Megan Holmes
                                       Megan Holmes
                                       Attorney for Debtor
                                       The Semrad Law Firm, LLC
                                       11101 S Western Ave
                                       Chicago, IL 60643
                                       (312) 837-4019
                                       mholmes@semradlaw.com
                                       Attorneys for Plaintiff




Dated: January 8, 2024           By:   s/ David H. DeCelles
                                       DAVID H. DECELLES
                                       Assistant U.S. Attorney
                                       219 South Dearborn Street
                                       Chicago, Illinois 60604
                                       (312) 353-4220
                                       david.decelles@usdoj.gov
                                       Attorneys for Defendant




                                         3
